                    Case 3:19-cr-00263-KAD Document 29 Filed 11/06/19 Page 1 of 1
AO 106 (Rev 04/10) Application for a Search Warrant



                                        UNITED STATES DISTRICT COURT
                                                                   for the
                                                          District of Connecticut

               In the Matter of the Search of
          (Briefly describe the property to be searched
                                                                      )                                      crUj !J:;\\))
                                                                      )
           or identify the person by name and address)                              Case No. 3:19-mf 149~ (SALM)
                                                                      )
      Information associated with the email account                   )
     konk10101@hotmail.com, which is stored at the                    )
       premises controlled by Microsoft Corporation                   )

                                               APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
prop,ertv to be searched arzd ,Rive its location).:                             .              .       .                           .
  lnror1nat1on assocIaterrwItn the email account konk10101@hotma1l.com, which Is stored at the premises controlled by
  Microsoft Corporation as described in Attachment A, which is expressly incorporated herein.

                                                  Connecticut
located in the - - - - - - - - District of - - - --                                                        , there is now concealed (identify the
                                                    -- - - -
person or describe the property to be seized):                                              ·1'1)
  Evidence, fruits and instrumentalities of a crime as described <i1"rlhe-Affidav1t and- in Attachment B, which is expressly
  incorporated herein.

           The basis for the search under Fed. R. Crim. P. 41 ( c) is (check one or more):
                  ~ evidence of a crime;
                  ~ contraband, fruits of crime, or other items illegally possessed;
                  ~ property designed for use, intended for use, or used in committing a crime;
                  0 a person to be arrested or a person who is unlawfully restrained.

           The search is related to a violation of:
              Code Section                                                          Offense Description

         18 U.S.C. § 2339B                                                Attempting to Provide Material Support and Resources to a
                                                                          Foreign Terrorist Organization (FTO)
           The application is based on these facts:



           ~ Continued on the attached sheet.
           0 Delayed notice of        days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the u- ta ·lied ; b ct~·
                                                                                               ·     -~
                                                                        I                        ,._ ✓-~
                                                                     ----L ~vtf.,                    1_1     /I{~-
                                                                              1         (           I ftµplir:m 1r's   signature

                                                                                         Samuel Wharton, Special Agent
                                                                                                       Printed name and title

Sworn to before me and signed in my presence.


Date :    _ _ 11/06/2019                                                             /s/ Sarah A. L. Merriam, USMJ
                                                                                                           Judge's signature

City and state: New Haven, Connecticut
                                                                     ~------   Hon sefrah A. L. Merriam, U.S . Magistra te Judge
                                                                                                       Printed name and title
